935 F.2d 1286Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Rose MECKLEY, Plaintiff-Appellant,v.Ron GREGORY, Commissioner of the West Virginia Department ofCorrections, Mike House, Warden of Pruntytown CorrectionalCenter, Frank Phares, Associate Warden of PruntytownCorrectional Center, Mike Gilmore, Unit Manager ofPruntytown Correctional Center, West Virginia Department ofCorrections, Defendants-Appellees.
    No. 90-6380.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 3, 1991.Decided June 14, 1991.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  Frederick P. Stamp, Jr., District Judge.  (CA-89-197-E)
      Rose Meckley, appellant pro se.
      Rita A. Stuart, Department of Corrections, Charleston, W.Va., for appellees.
      N.D.W.Va.
      DISMISSED.
      Before WIDENER, MURNAGHAN and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Rose Meckley appeals the district court's denial of her motion for a default judgment.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."    Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      5
      DISMISSED.
    
    